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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

CT LAND & CATTLE CO., L.L.C.,  §
A TEXAS LIMITED LIABILITY      §
COMPANY,                       §
                               §
     Plaintiff,                §
                               §
v.                             §
                               § CIVIL ACTION NO. 5:17-cv-00118
NATIONWIDE AGRIBUSINESS        §
INSURANCE COMPANY, A FOREIGN   §
CORPORATION, AND THE TRAVELERS §
INDEMNITY COMPANY OF AMERICA,  §
A FOREIGN CORPORATION,         §
                               §
     Defendants.               §


               DEFENDANT THE TRAVELERS INDEMNITY COMPANY
                     OF AMERICA’S NOTICE OF REMOVAL

       Defendant The Travelers Indemnity Company of America (“Travelers” or “Defendant”)

files its Notice of Removal of this action from the 132nd Judicial District Court of Scurry

County, Texas to the United States District Court for the Northern District of Texas, Lubbock

Division, the Court for the District and Division encompassing the place where the lawsuit is

currently pending. This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1441 and 1446. In

support hereof, Defendant shows this Court as follows:

       1.     On April 10, 2017, Plaintiff CT Land & Cattle Co., L.L.C. (“Plaintiff”)

commenced an action in the 132nd Judicial District Court of Scurry County, Texas, styled CT

Land & Cattle Co., L.L.C., a Texas Limited Liability Company v. Nationwide Agribusiness

Insurance Company, a foreign corporation, and The Travelers Indemnity Company of America,

a foreign corporation, where it was assigned Cause No. 25971.



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           2.          On May 5, 2017, Travelers was served with a citation. Removal is timely because

thirty (30) days have not elapsed since Defendant was served with a summons or citation. 28

U.S.C. §1446(b)(1); Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999)

(holding that the 30-day deadline to remove begins on the date the summons or citation is served

even if the complaint is received at a prior date).

           3.          Defendant is, contemporaneously with the filing of this Notice, giving written

notice of filing of this Notice of Removal to the clerk of the 132nd Judicial District Court of

Scurry County, Texas, and will serve a copy of the Notice of Removal on all counsel of record.

           4.          In accordance with Local Rule 81.1, attached collectively as Exhibit “A” are all

materials filed in the state court. Defendant has also filed contemporaneously with this Notice a

civil cover sheet, a supplemental civil cover sheet, and a separately signed certificate of

interested persons and disclosure statement that complies with Local Rule 3.1(c) and Rule 7.1 of

the Federal Rules of Civil Procedure.

                                         GROUND FOR REMOVAL: DIVERSITY

           5.          This Court has original jurisdiction over this case under 28 U.S.C. § 1332 because

this is a civil action between citizens of different States where the matter in controversy exceeds

$75,000.

                       (a)    The amount in controversy            exceeds    the   federal   minimum
                              jurisdictional requirements.

           6.          Plaintiff seeks damages in an amount greater than $200,000 but not more than

$1,000,000 1 and attorneys’ fees. 2 Thus, the amount in controversy meets and exceeds the federal

jurisdictional minimum of $75,000, exclusive of interest and costs.


1
    See Ex. A-2 ¶ 4.
2
    See Ex. A-1 ¶ 14.



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               (b)     Complete diversity between Plaintiff and Defendants exist.

       7.      The citizenship of a limited liability company is determined by the citizenship of

its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Upon

information and belief, Plaintiff is a limited liability company whose members are individuals

residing in either Texas or New Mexico. Plaintiff is therefore a citizen of Texas and New

Mexico.

       8.      Corporations “shall be deemed to be a citizen of every State and foreign state by

which it has been incorporated and of the State or foreign state where it has its principal place of

business ....” 28 U.S.C. § 1332(c)(1). Defendant Nationwide Agribusiness Insurance Company

(“Nationwide”) is incorporated in Iowa with its principal place of business in Iowa. Nationwide

is therefore a citizen of Iowa.

       9.      Travelers is incorporated in the State of Connecticut with its principal place of

business in Connecticut. Travelers is therefore a citizen of Connecticut.

       10.     Nationwide consents to the removal of this action. See Ex. B.

       11.     Because the amount in controversy exceeds $75,000 and Plaintiff is a citizen of

Texas while no defendant is a citizen of Texas, this Court has original jurisdiction over the

present action pursuant to 28 U.S.C. § 1332. Removal is therefore proper.

       WHEREFORE, Defendant prays that the above-described action now pending in the

132nd Judicial District Court of Scurry County, Texas be removed to this Court.




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                                              Respectfully submitted,

                                                /s/ Wm. Lance Lewis
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                                              ATTORNEYS FOR DEFENDANT THE
                                              TRAVELERS INDEMNITY COMPANY OF
                                              AMERICA




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing pleading has been furnished
to all counsel of record, via certified mail, return receipt requested, in accordance with the
Federal Rules of Civil Procedure, this 2nd day of June, 2017 at the addresses indicated below:

      Andrew Curtis                                Brian J. Bradigan
      Matthew M. McKee                             Ryan D. Brown
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                                      /s/ Wm. Lance Lewis
                                      Wm. Lance Lewis /Alissa Puckett
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